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 1                                   UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3
 4    United States of America,
                                                                         2:15-cr-00255-JAD-PAL
 5              Plaintiff
                                                                       Order Overruling Objections,
 6    v.                                                                  Adopting Report and
                                                                   Recommendation, and Denying Motion
 7    Paul Engstrom,                                                          to Suppress
 8              Defendant                                                  [ECF Nos. 43, 58, 68]
 9
10             Paul Engstrom and codefendant Daniel Dease are charged with conspiracy to distribute
11   MDMA and related crimes. The indictment stems from an undercover sting operation by a DEA and
12   Las Vegas Metropolitan Police Department (Metro) task force targeting Dease that culminated in
13   Dease and Engstrom’s arrests after a controlled buy in a parking lot. Engstrom moves to suppress
14   the drugs, cash, and cell-phone evidence seized from his BMW, arguing that police lacked probable
15   cause for the search.1 After an evidentiary hearing, Magistrate Judge Leen recommends that I deny
16   Engstrom’s motion;2 Engstrom objects.3 Having reviewed the objected-to portions of Judge Leen’s
17   report and recommendation de novo, I adopt her findings and conclusions, overrule Engstrom’s
18   objections, and deny his motion to suppress.
19                                                Background
20   A.        Engstrom’s arrest and search
21             After making three undercover purchases from Dease, task-force officer (TFO) Bourque
22   arranged to buy five ounces of MDMA from Dease on August 26, 2015, in a shopping center parking
23   lot.4 TFO Bourque was supported by a team of task-force officers, and the plan was to arrest Dease
24
       1
25         ECF No. 43.
       2
26         ECF No. 58.
27     3
           ECF No. 68.
28     4
           ECF No. 59 at 11:14–23.

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 1   after the deal.
 2               TFO Bourque met Dease in front of Kohl’s Department Store. Dease entered TFO Borque’s
 3   undercover vehicle, and he told TFO Bourque that he did not have the drugs and would need the buy
 4   money up front before his “connect” would release the drugs.5 TFO Bourque declined to front the
 5   money, and indicated that he would not accompany Dease to meet the connect and that Dease would
 6   have to get his source to come to the parking lot to complete the transaction or the deal was off.6
 7   Dease and the TFO then briefly parted ways, with Dease agreeing to negotiate with his connect.7
 8   TFO Bourque left the shopping center parking lot; Dease did not.
 9               Dease later texted the TFO stating that his connect had agreed to come to the parking lot8 and
10   that they would deal one ounce of MDMA at a time, with Dease acting as the runner.9 After learning
11   that the connect would be bringing the drugs to the parking lot, DEA technician Kurtz, who was
12   stationed at a nearby Shell gas station, saw Dease’s Mercedes pull up next to a BMW parked near a
13   guitar store.10 Kurtz saw Dease get in the passenger side of the BMW, where he remained for a short
14   time before returning to his Mercedes and driving to the other side of the parking lot.11 Kurtz gave a
15   description of the BMW over the radio. TFO Pope also saw Dease pull up next to the BMW near the
16   guitar store, get into the BMW, exit the BMW, and drive his Mercedes towards the Jack in the Box
17   across the parking lot where TFO Bourque was parked.12 Dease got out of his Mercedes and into
18   TFO Bourque’s undercover vehicle and handed him a foil package containing one ounce of MDMA
19
20     5
           Id. at 18.
21
       6
           Id.
22
       7
           ECF No. 58 at 2.
23
       8
24         ECF No. 59 at 23.
       9
25         Id. at 23:18–21.
       10
26          Id. at 61–62.
27     11
            ECF No. 58 at 7.
28     12
            Id. at 11.

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 1   in exchange for $1,600.13 TFO Bourque then gave an arrest signal, and Dease was arrested.14
 2                Immediately after Dease was busted, across the parking lot, TFOs Meegan and Hooten
 3   approached Engstrom’s BMW. TFO Meegan removed Engstrom from the BMW, and TFO Hooten
 4   opened the rear-passenger door, purportedly to “clear” the BMW.15 When TFO Hooten opened the
 5   rear door, he reportedly saw on the back seat an open paper Starbucks bag containing four foil bags.16
 6   The foil bags were seized, and TFO Pope arrested Engstrom.17
 7   B.           Report and recommendation
 8                After an evidentiary hearing, Magistrate Judge Leen found that the collective knowledge of
 9   the task-force officers established probable cause to arrest Engstrom and search the BMW from the
10   point of the initial stop. She first found that the duration and scope of the traffic stop were
11   reasonable because police arrested Engstrom within five minutes of the undercover buy from
12   Dease.18 Magistrate Judge Leen also found that the task force had ample probable cause to arrest
13   Engstrom and search his BMW from the point of the initial stop because:
14                        Dease was in the parking lot to sell five ounces of MDMA to Bourque for
                          $8,000. Dease did not have the MDMA in his first meeting with the
15                        undercover. After the first unsuccessful meeting, Dease texted Bourque to say
                          his connect was nearby and would be coming to the Kohl’s parking lot. Dease
16                        remained in the parking lot waiting until Engstrom arrived in his BMW.
                          Dease got out of his vehicle and into the BMW for a short time. Dease went
17                        directly from the BMW to park next to Bourque. Dease got into the
                          undercover vehicle with MDMA, and sold it to Bourque for $1,600.19
18
19
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21
       13
            Id. at 5.
22
       14
            Id. at 5–6.
23
       15
24          Id. at 2.
       16
25          Id.
       17
26          Id.
27     18
            Id. at 14.
28     19
            Id. at 16.

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 1   She concluded that, because TFO Bourque and Dease agreed to do the five-ounce deal one ounce at a
 2   time, after the first transaction occurred, it was objectively reasonable for the police to believe
 3   Engstrom’s BMW contained more MDMA.20 Because the magistrate judge found that the officers
 4   had probable cause to arrest Engstrom and to search the BMW at the time of the initial stop, she
 5   declined to address whether the Starbucks bag and its contents were in plain view or whether TFO
 6   Hooten “cleared” the BMW for officer safety or searched it.21
 7   C.           Engstrom’s objections
 8                Engstrom argues that Magistrate Judge Leen incorrectly concluded that the officers initially
 9   had probable cause to arrest Engstrom and should have considered the illegality of the warrantless
10   search of Engstrom’s vehicle.22 Engstrom also contends that the government failed to fulfill its
11   mandatory discovery obligations under Federal Rule of Criminal Procedure 26.2 and that his
12   confrontation-clause rights were violated during the evidentiary hearing 23
13                                                     Discussion
14   A.           Standards of review
15                A district judge reviews objections to a magistrate judge’s proposed findings and
16   recommendations de novo.24 “The district judge may accept, reject, or modify the recommendation,
17   receive further evidence, or resubmit the matter to the magistrate judge with instructions.”25 The
18   standard of review applied to the unobjected-to portions of the report and recommendation is left to
19   the district judge’s discretion.26 Local Rule IB 3-2(b) requires de novo consideration of specific
20
       20
21          Id.
       21
22          ECF No. 58 at 16.
23     22
            ECF No. 68 at 6.
24     23
            Id. at 7.
25     24
            United States v. Reyna-Tapia, 328 F.3d 1114, 1121–22 (9th Cir. 2003).
26
       25
            Id.
27
       26
         Id. (stating that a “district judge must review the magistrate judge’s findings and recommendations
28     de novo if objection is made, but not otherwise.”) (emphasis in original).

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 1   objections only.27
 2   B.        Automobile searches under the Fourth Amendment
 3             In Carroll v. United States, the United States Supreme Court held that a police officer may
 4   search a car without a warrant if the officer has probable cause to believe that the car contains
 5   contraband or evidence of a crime.28 Probable cause exists if, based on the totality of the
 6   circumstances known to the officers at the time of the search, there is a “fair probability that
 7   contraband or evidence of a crime will be found in a particular place.”29 Because Carroll’s
 8   automobile exception to the warrant requirement “is justified by the exigency created by the inherent
 9   mobility of vehicles as well as the relatively minimal expectation of privacy that exists with respect
10   to automobiles,” its application “does not turn on whether the car’s owner or driver has already been
11   taken into custody or the risk of mobility has otherwise been eliminated.”30
12
     C.        Suppression is not warranted because the officers had probable cause to arrest
13             Engstrom and to search his BMW and a warrant was not required.
14             I agree with Magistrate Judge Leen’s conclusion that, at the time police stopped Engstrom,
15   they had probable cause to both arrest him and search his BMW. As Magistrate Judge Leen detailed
16   in her report and recommendation, the officers knew that Dease had come to the parking lot to sell
17   five ounces of MDMA to TFO Bourque for $8,000. Dease did not have the MDMA at the first
18   meeting, and after TFO Bourque declined to front the cash for the drugs or follow Dease to the
19   source, Dease agreed to negotiate with his connect to bring the MDMA to the parking lot. A short
20   time later, Dease texted TFO Bourque indicating that his connect had agreed to come to the Kohl’s
21   parking lot and that the deal would be done one ounce at a time with Dease acting as the middle man.
22             Police saw Dease remain in the parking lot waiting until Engstrom arrived in his BMW. At
23
       27
         See L.R. IB 3-2(b) (requiring de novo consideration of specific objections only); Carillo v. Cate,
24
       2009 WL 2575888, at *1 (S.D. Cal. Aug. 17, 2009) (noting that “generalized objections” do not
25     require de novo review).
       28
26          Carroll v. United States, 267 U.S. 132, 153 (1925).
27     29
            Illinois v. Gates, 462 U.S. 213, 238 (1983).
28     30
            United States v. Scott, 705 F.3d 410, 417 (9th Cir. 2012) (internal citations omitted).

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 1   least two task-force officers saw Dease get out of his vehicle, enter the BMW for a short time, and
 2   then drive directly to the Jack in the Box where he met TFO Bourque. Dease got into the undercover
 3   vehicle with MDMA and sold one ounce to TFO Bourque for $1,600. Dease had agreed to sell the
 4   TFO five ounces of MDMA in one-ounce increments. Thus, the officers had probable cause to
 5   believe that the remaining four ounces would be in Engstrom’s nearby BMW, where it appeared
 6   Dease had obtained the first ounce. Because there was probable cause to arrest Engstrom and to
 7   search his BMW even absent observation of the Starbucks bag, I need not decide whether the bag’s
 8   contents were in plain view or whether TFO Meegan opening the BMW’s rear-door and looking
 9   inside constituted a search.
10              Engstrom cites to the officers’ testimony at the evidentiary hearing and argues that even
11   TFOs Hooten and Meegan did not “believe” that probable cause to arrest Engstrom and to search the
12   BMW existed until after the contents of the Starbucks bag were discovered and they talked to TFO
13   Bourque.31 This argument fails for two reasons. First, “an arresting officer’s state of mind (except
14   for the facts that he knows) is irrelevant to the existence of probable cause.”32 Thus, even if the
15   officers subjectively believed they were conducting a Terry stop based on reasonable suspicion, that
16   belief “does not invalidate the [search] as long as the circumstances, viewed objectively, justify
17   [it].”33 As detailed above, the circumstances in this case, viewed objectively, justified Engstrom’s
18   arrest and the search of his BMW.
19              Second, because the officers were working together on Dease’s investigation and
20   communicating with each other, the facts known to each of the officers can be considered in the
21   aggregate to reach the probable-cause determination.34 The testimony at the evidentiary hearing
22   reflects that the task-force officers were communicating with each other as the investigation
23   unfolded. For example, TFO Hooten testified on cross examination that someone on the surveillance
24
       31
25          ECF No. 68 at 7–8.
       32
26          Devenpeck v. Alford, 543 U.S. 146, 594 (2004).
27     33
            Id. (internal citations and quotations omitted).
28     34
            See United States v. Ramirez, 473 F.3d 1026, 1032 (9th Cir. 2007).

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 1   team radioed that the BMW was the source of supply’s vehicle.35 Thus, it is immaterial that TFO
 2   Hooten did not know all of the facts giving rise to probable cause until after he spoke with TFO
 3   Bourque because he was entitled to rely on his team members’ conclusions that Engstrom was the
 4   source of the drugs.36
 5                I find that the government has carried its burden to show that police had probable cause to
 6   search the BMW and that the automobile exception to the warrant requirement applies. Accordingly,
 7   suppression is not warranted.
 8   D.           Evidentiary objections
 9                1.     Federal Rule of Criminal Procedure 26.237
10                Engstrom next argues that he was prejudiced by the government’s failure to produce certain
11   text/Wickr messages sent by Dease to TFO Bourque on the day of the bust.38 At the evidentiary
12   hearing, TFO Bourque testified that he communicated with Dease through an application that Dease
13   had instructed him to download called “Wickr.”39 Wickr is an app where messages automatically
14   destruct or delete, so TFO Bourque had to take pictures of texts with a camera to document them.40
15   On the day of the bust, TFO Bourque narrated various Wickr messages to the task force over the
16   radio as he received them from Dease, but testified that he was unable to photograph his self-
17   destructing Wickr texts from Dease on that day.41
18
19     35
            ECF No. 58 at 10.
20     36
         Ramirez, 473 F.3d at 1032 (stating that “we have applied the collective knowledge doctrine
21     regardless of whether any information giving rise to probable cause was actually communicated to
       the officer” instructed to conduct the stop, search, or arrest) (internal citations and quotations
22     omitted).
23     37
         This is the only objection raised by Engstrom that the government addressed in its 3-page response
24     to Engstrom’s 21-page objection. ECF No. 69.
       38
25          ECF No. 68 at 13.
       39
26          ECF No. 58 at 6.
27     40
            Id.
28     41
            Id. at 6.

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 1             One of defense counsel’s theories at the evidentiary hearing was that the police reports were
 2   sloppy or inconsistent. The police report stated that Dease texted TFO Bourque immediately after he
 3   got out of Engstrom’s BMW stating that he had the drugs; yet that text was not produced by the
 4   government. On cross examination, TFO Bourque testified that he did not believe that any texts
 5   from the day of the bust had been photographed or produced.42 TFO Pope testified that he had never
 6   seen that text, but that TFO Bourque had relayed that information to him. Shortly after the
 7   evidentiary hearing, the government produced a Wickr conversation between Dease and TFO
 8   Bourque on the day of the bust, including a text from Dease that reads, “I’m picking 1 up now where
 9   can I meet you?”43
10             Defense counsel inquired why the government had not produced the texts sooner, and the
11   government forwarded her TFO Pope’s response:
12             I thought I sent everything I had before this hearing. When we went to the hearing,
               Det. Bourque and I went off of what you had. After the hearing I was looking through
13             the CD’s and noticed there was the “new discovery” about these texts. When I
               realized you must not have had them, I sent them to you.44
14
15
     Engstrom argues that TFO Pope’s response directly contradicts his testimony that he had never seen
16
     the text message in question and that all of TFO Pope’s testimony should be stricken because the
17
     government failed to produce the texts before the evidentiary hearing.45
18
19     42
            ECF No. 59 at 34–35.
20
       43
            ECF No. 68 at 14. The full exchange reads:
21
22               Chessman: (Dease): I’m picking 1 up now where can I meet you?
                 Bourque: Does that mean ull have the 5 and we just do this
23               Chessman: All 5 will be brought to you. You’ll pay when they weigh
                 Bourque: I’m confused now
24               Chessman: I’m using my credit to buy it then bring it to you.
25               Bourque: When u got them I’ll meet u at same spot...any games I’m out

26     ECF No. 68-2 at 1.
27     44
            ECF No. 68-3 at 2.
28     45
            ECF No. 14 at 14–15.

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 1               Federal Rule of Criminal Procedure 26.2 requires the government to produce, upon motion
 2   by the defendant, “any statement of the witness that is in [its] possession and that relates to the
 3   subject matter of the witness’s testimony.”46 In imposing sanctions against the government for
 4   violations of the Rule, courts consider “the culpability of the government . . . and the injury to the
 5   defendants.”47
 6               Engstrom’s Rule 26.2 challenge fails because Rule 26.2 does not apply in this context. The
 7   undisclosed text is not a statement of TFO Pope, it is a statement of Dease. Because the statement is
 8   not TFO Pope’s, the government’s failure to disclose it at the conclusion of TFO Pope’s direct
 9   testimony does not violate Rule 26.2 and does not require that his testimony be stricken. Even if the
10   rule did apply, striking TFO Pope’s testimony would not be an appropriate sanction because the
11   government’s failure to produce the texts appears inadvertent, and defense counsel has not shown
12   that Engstrom was injured by demonstrating how she would have cross examined TFO Pope
13   differently if she had these texts. I therefore decline to strike TFO Pope’s testimony as a sanction for
14   the government’s failure to produce the texts before the evidentiary hearing.
15               2.      Confrontation clause
16               Finally, Engstrom argues that certain testimony provided by TFO Pope at the evidentiary
17   hearing was elicited in violation of Engstrom’s rights under the confrontation clause.48 Engstrom
18   takes issue with a single statement elicited by Magistrate Judge Leen that he did not have an
19   opportunity to cross examine TFO Pope (or Dease, who did not testify) about: “I also spoke with
20   Mr.–Mr. Dease who told me that Mr. Engstrom was his source.”49
21               Even if the challenged testimony violated Engstrom’s confrontation-clause rights, any error is
22   harmless because I find that the officers had probable cause to search the BMW even excluding the
23   challenged statement. As described above, the police had probable cause to believe that Engstrom
24
       46
25          The rule also applies to defense witnesses other than the defendant himself.
       47
26          United States v. Finnegan, 568 F.2d 637, 642 (9th Cir. 1977).
27     48
            Id. at 15.
28     49
            Id. at 15 (citing Transcript, 148:19-149:22).

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 1    was the source and that more drugs would be found in his BMW based on their observations of
 2    Dease and Engstrom in the parking lot and the close physical and temporal proximity of the drug
 3    deal; Dease’s statement to TFO Pope after the bust explicitly naming Dease as his source is not
 4    necessary to my finding that the police had probable cause to search the BMW. Thus, any error in
 5    eliciting the challenged statement is harmless and does not require suppression.
 6                                                 Conclusion
 7           Accordingly, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Magistrate
 8    Judge Leen’s report and recommendation [ECF No. 58] is ADOPTED, Engstrom’s objections
 9    [ECF No. 68] are OVERRULED, and Engstrom’s motion to suppress [ECF No. 43 ] is
10    DENIED.
11           Dated this 16th day of May, 2016.
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